      Case: 4:22-cv-00062-SA-JMV Doc #: 197 Filed: 05/21/24 1 of 2 PageID #: 3239




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION


DYAMONE WHITE; DERRICK
SIMMONS; TY PINKINS;
CONSTANCE OLIVIA SLAUGHTER
HARVEY-BURWELL                                                                   PLAINTIFFS

VS.                                          CIVIL ACTION NO. 4:22-CV-00062-SA-JMV
STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES in
his official capacity as Governor of
Mississippi; LYNN FITCH in her official
capacity as Attorney General of
Mississippi; MICHAEL WATSON in his
official capacity as Secretary of State of                                      DEFENDANTS
Mississippi



                                ENTRY OF APPEARANCE

        Please take notice that Victoria Ochoa of American Civil Liberties Union Foundation,

hereby enters her appearance as additional counsel of record for Plaintiffs, DYAMONE WHITE;

DERRICK SIMMONS; TY PINKINS; and CONSTANCE OLIVIA SLAUGHTER HARVEY-

BURWELL.

        RESPECTFULLY SUBMITTED, this the 21st day of May, 2024.

  /s/ Joshua F. Tom                              /s/ Victoria Ochoa
  Joshua F. Tom                                  Victoria Ochoa*
  Miss. Bar No. 105392                           NY Bar No. 6039093
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                                 CERTIFICATE OF SERVICE

I, Victoria Ochoa, hereby certify that on May 21, 2024, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all parties on file
with the Court.




                                          /s/ Victoria Ochoa
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